               Case 19-01190-dd                     Doc 23           Filed 04/25/19 Entered 04/25/19 15:25:33            Desc Main
                                                                     Document      Page 1 of 5

 Fill in this information to identify your case:

 Debtor 1                 Bruce W Neel
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         American Express                                     Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       13 Ascot Glen Ct. Irmo, SC                         Reaffirmation Agreement.
    property             29063 Richland County                              Retain the property and [explain]:
    securing debt:       RESIDENCE
                         HOUSE AND LOT
                         PURCHASED: 2002 FOR $499K


    Creditor's         BB&T                                                 Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       13 Ascot Glen Ct. Irmo, SC                         Reaffirmation Agreement.
    property             29063 Richland County                              Retain the property and [explain]:
    securing debt:       RESIDENCE
                         HOUSE AND LOT
                         PURCHASED: 2002 FOR $499K


    Creditor's         BB&T                                                 Surrender the property.                     No



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
            Case 19-01190-dd                        Doc 23           Filed 04/25/19 Entered 04/25/19 15:25:33                   Desc Main
                                                                     Document      Page 2 of 5

 Debtor 1      Bruce W Neel                                                                           Case number (if known)


    name:                                                                    Retain the property and redeem it.                Yes

                                                                            Retain the property and enter into a
    Description of 13 Ascot Glen Ct. Irmo, SC                               Reaffirmation Agreement.
    property       29063 Richland County                                    Retain the property and [explain]:
    securing debt: RESIDENCE
                   HOUSE AND LOT
                   PURCHASED: 2002 FOR $499K                              loan mod



    Creditor's     BB&T                                                     Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      13 Ascot Glen Ct. Irmo, SC                          Reaffirmation Agreement.
    property            29063 Richland County                               Retain the property and [explain]:
    securing debt:      RESIDENCE
                        HOUSE AND LOT
                        PURCHASED: 2002 FOR $499K


    Creditor's     First Community Bank                                     Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of                                                          Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's     NATIONSTAR                                               Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of 13 Ascot Glen Ct. Irmo, SC                               Reaffirmation Agreement.
    property       29063 Richland County                                    Retain the property and [explain]:
    securing debt: RESIDENCE
                   HOUSE AND LOT
                   PURCHASED: 2002 FOR $499K                              loan mod



    Creditor's     SOUTHERN COMMUNITY SERVICE                               Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      HOA ARREARS                                         Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's     Wells Fargo                                              Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of      13 Ascot Glen Ct. Irmo, SC                          Reaffirmation Agreement.
    property            29063 Richland County                               Retain the property and [explain]:
    securing debt:      RESIDENCE
                        HOUSE AND LOT
                        PURCHASED: 2002 FOR $499K

 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                           page 2

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
            Case 19-01190-dd                        Doc 23           Filed 04/25/19 Entered 04/25/19 15:25:33                          Desc Main
                                                                     Document      Page 3 of 5

 Debtor 1      Bruce W Neel                                                                          Case number (if known)


in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Bruce W Neel                                                             X
       Bruce W Neel                                                                     Signature of Debtor 2
       Signature of Debtor 1

       Date        April 25, 2019                                                   Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 3

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
    Case 19-01190-dd   Doc 23   Filed 04/25/19 Entered 04/25/19 15:25:33   Desc Main
                                Document      Page 4 of 5

}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        AMERICAN EXPRESS
                        PO BOX 650448
                        DALLAS TX 75265


                        ATT UNIVERSAL
                        PROCESSING CENTER
                        DES MOINES IA 50363


                        BB&T
                        P.O. BOX 2467
                        GREENVILLE SC 29602


                        BB&T
                        P.O. BOX 580048
                        CHARLOTTE NC 28258


                        BB&T
                        P.O. BOX 1847
                        WILSON NC 27894-1847


                        FIRST COMMUNITY BANK
                        5455 SUNSET BLVD
                        LEXINGTON SC 29072


                        HEATHWOOD HALL
                        3000 SOUTH BELTLINE BLVD
                        COLUMBIA SC 29201


                        MR COOPER
                        8950 CYPRESS WATERS BLVD
                        COPPELL TX 75019


                        NATIONSTAR
                        PO BOX 619063
                        DALLAS TX 75261


                        SCOTT & CORLEY LAW FIRM
                        2712 MIDDLEBURG DRIVE, SUITE 200
                        COLUMBIA SC 29202


                        SOUTHERN COMMUNITY SERVICE
                        101 RICE BENT WAY, UNIT 11
                        COLUMBIA SC 29229
Case 19-01190-dd   Doc 23   Filed 04/25/19 Entered 04/25/19 15:25:33   Desc Main
                            Document      Page 5 of 5


                    WELLS FARGO
                    PO BOX 6426
                    CAROL STREAM IL 60197
